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           IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF OKLAHOMA

      1. THERESA JEAN MURPHY,                              )
                                                           )
                  Plaintiff,                               )
                                                           )
 v.                                                        ) Case No.:17-v-665-JHP-JFJ
                                                           )
    1. STATE FARM FIRE AND CASUALTY                        )
       COMPANY, a foreign for profit insurance             )
       corporation,                                        )
                                                           )
                 Defendant.                                )

                                        COMPLAINT

                                          A. Parties

      1.     Plaintiff, Theresa Jean Murphy, is a citizen of the State of Oklahoma.

      2.     Defendant, State Farm Fire and Casualty Company, is a foreign for-profit

 insurance corporation, incorporated and organized under the laws of the State of

 Illinois.

      3.     The principal place of business for Defendant, State Farm Fire and Casualty

 Company, is Bloomington, Illinois.

      4.     The Defendant, State Farm Fire and Casualty Company, is licensed to

 conduct business in the State of Oklahoma and may be served with process through

 the Oklahoma Department of Insurance.

      5.     This action is not related to any other case filed in this court.

                                        B. Jurisdiction
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    6.     The court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332

 because there is diversity between the parties and the amount in controversy

 exceeds $75,000.00, exclusive of interest and costs.

                                       C. Facts

    7.     At all times material hereto, the Plaintiff, Theresa Jean Murphy, owned a

 home located at 19512 E. 50th Street S. in Broken Arrow, Oklahoma, which was

 insured under the terms and conditions of an insurance policy, policy number 36-

 BS-J591-9, issued by the Defendant, State Farm Fire and Casualty Company.

    8.     At all times material hereto, the Plaintiff, Theresa Jean Murphy, complied

 with the terms and conditions of her insurance policy.

    9.      On or about August 5, 2017, the Plaintiff’s home sustained damage as a

 result of a windstorm. These damages are covered pursuant to the terms and

 conditions of Plaintiff’s insurance policy.

   10.     Wind is a covered peril and the damages sustained by Plaintiff are not

 limited or excluded pursuant to the terms and conditions of Plaintiff’s insurance

 policy.

                           D. Count I: Breach of Contract

   11.     Plaintiff, Theresa Jean Murphy, hereby asserts, alleges and incorporates

 paragraphs 1-10 herein.

   12.     The property insurance policy, policy number 36-BS-J591-9, issued by
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 Defendant, State Farm Fire and Casualty Company, was in effect on August 5,

 2017.

    13.   Subsequent to the loss, Plaintiff timely submitted a claim to Defendant

 (Claim No. 36-1532-P77).

    14.   The acts and omissions of Defendant, State Farm Fire and Casualty

 Company, in the investigation, evaluation, and denial of Plaintiff’s claim were

 unreasonable and constitute a breach of contract for which contractual damages are

 hereby sought. Defendant’s breach of contract includes, but is not limited to, the

 improper denial of Plaintiff’s claim and the failure to pay for covered damage to

 the Plaintiff’s home, including the Plaintiff’s wind damaged roofing system.

 Defendant, State Farm Fire and Casualty Company, improperly and unreasonably

 denied Plaintiff’s claim when the above mentioned loss was covered pursuant to

 the terms and conditions of the policy purchased by Plaintiff. During its inspection

 of Plaintiff’s roofing system, Defendant ignored, disregarded, and intentionally

 refused to consider obvious wind damage to Plaintiff’s shingled roofing surface,

 including shingles which had been unsealed by wind. Defendant’s investigation,

 evaluation, and denial of Plaintiff’s claim were unreasonable, outside of insurance

 industry standards, and based upon an unreasonable inspection which failed to

 consider the covered wind damage to Plaintiff’s roofing system.
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                               E. Count II: Bad Faith

     15.   Plaintiff, Theresa Jean Murphy, hereby asserts, alleges and incorporates

 paragraphs 1-14 herein.

    16.    The acts and omissions of Defendant, State Farm Fire and Casualty

 Company, in the investigation, evaluation, and denial of Plaintiff’s claim were

 unreasonable and constitute bad faith for which extra-contractual damages are

 hereby sought. Defendant unreasonably and in bad faith failed to pay for covered

 damage to the Plaintiff’s home, including Plaintiff’s obviously wind damaged

 roofing system.     Defendant conducted an improper and unreasonable claim

 investigation, evaluation, and adjustment which resulted in an unreasonable denial

 of payment for Plaintiff’s covered loss. Defendant improperly and unreasonably

 denied Plaintiff’s claim without proper and reasonable investigation. During its

 inspection, Defendant disregarded obvious wind damage to Plaintiff’s roofing

 system and failed to consider the wind damage to Plaintiff’s roof as a whole.

 During its inspection of Plaintiff’s roofing system, Defendant ignored, disregarded,

 and intentionally refused to consider obvious wind damage to Plaintiff’s shingled

 roofing surface, including shingles which had become unsealed as a result of the

 windstorm.

    17.    Defendant’s unreasonable, bad faith conduct includes, but is not limited

 to, an unreasonable claim investigation, evaluation, and adjustment which resulted
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 in an improper denial of coverage for Plaintiff’s covered loss.

                                 F. Punitive Damages

     18.   Plaintiff, Theresa Jean Murphy, hereby asserts, alleges and incorporates

 paragraphs 1-17 herein.

     19.   The unreasonable conduct of the Defendant, State Farm Fire and Casualty

 Company, in the handling of Plaintiff’s claim was intentional, willful, wanton and

 was committed with a reckless disregard for the rights of the Plaintiff, Theresa

 Jean Murphy, for which punitive damages are hereby sought.

                              G. Demand for Jury Trial

    20. Plaintiff, Theresa Jean Murphy, hereby requests that the matters set forth

 herein be determined by a jury of her peers.

                                      H. Prayer

    21.    Having properly pled, Plaintiff, Theresa Jean Murphy, hereby seeks

 contractual, bad faith and punitive damages against the Defendant, State Farm Fire

 and Casualty Company, together in an amount in excess of $75,000.00; including

 costs, interest and attorney fees.
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                                     Respectfully submitted,

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